                                  United States Bankruptcy Court
                                        Western District of Louisiana
                                              Judge: John W. Kolwe



    IN RE: JMP Hospitality, Inc                                                Chapter: 11
           Debtor(s)                                                           Case Number: 21−20122



                 ORDER TO DEBTOR IN POSSESSION UNDER THE SMALL BUSINESS
                REORGANIZATION ACT OF 2019 AND SETTING STATUS CONFERENCE

    Upon the filing of this case under the provisions of Chapter 11 of the Bankruptcy Code, and pursuant to the
authority granted the Court by 11 U.S.C. § 105 authorizing the entry of such orders as may be necessary to carry out
the provisions of the Bankruptcy Code,

   IT IS ORDERED that, pursuant to 11 U.S.C. § 1182 the above named Debtor, as a debtor in possession
("Debtor"), shall continue in possession of its estate and, pursuant to 11 U.S.C. §§ 1183 and 1184, shall continue the
operation of its business and management of its property until further order of this Court;

   IT IS FURTHER ORDERED that in connection with the operation of said business, the Debtor:


                       (1)    Bank Accounts. Shall close all bank accounts maintained on
                              the date of the filing of the petition. All funds on deposit to the
                              credit of the Debtor in said accounts on such date shall be
                              transferred to new accounts to be opened by the Debtor.
                              Deposits are to be made only in accounts within a depository
                              approved by the United States Trustee.

                       (2)    Withholding Taxes; Employees. Shall segregate and hold
                              separate and apart from all other funds any and all monies
                              withheld from employees or collected from others for taxes,
                              including social security taxes, under the laws of the United
                              States or any state or subdivision thereof and to deposit, as
                              required by law, all monies withheld from employees for social
                              security and federal income tax withholdings.

                       (3)    Withholdings; Others. Shall deposit or pay promptly to any
                              state or political subdivision thereof any and all monies
                              required to be withheld or collected from others subsequent to
                              the petition date, on such basis as may be required by the laws
                              or ordinances of such state or political subdivision.

                       (4)    Closure of Books; New Books of Account. Shall close and
                              preserve its pre−petition books and accounts and open and
                              maintain new books of account showing all income and
                              expenditures, receipts and disbursements of the Debtor during
                              the Chapter 11 proceeding.




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                      (5)     Pre−petition Debts. Shall not pay any debt or obligation
                              incurred prior to the filing of the petition unless payment of
                              such debt is specifically authorized by the Court.

                      (6)     Use of Cash Collateral. Shall not use "cash collateral" as
                              defined in 11 U.S.C. § 363 if said cash collateral is the subject
                              of a security interest until further order of this Court. All cash
                              collateral is to be deposited in a separate account pending the
                              entry of a court order with respect to its disposition.

                      (7)     Ordinary Course of Business. Shall not sell, lease or
                              otherwise dispose of property nor enter into any transaction
                              outside of the ordinary course of business unless specifically
                              authorized by this Court. The Debtor may buy and sell
                              merchandise, supplies and other property in the ordinary
                              course of business necessary and essential for its operation and
                              to render and obtain services.

                      (8)     Insurance. Shall keep the property of the estate insured at a
                              level equal to the value of such property and shall pay such
                              premiums as may be or become due thereon.

                      (9)     Monthly Reports. Shall on or before the 15th day of each
                              month file the Monthly Operating Report for the prior calendar
                              month with the Clerk of this Court in Shreveport and, in
                              addition, submit one copy to the Shreveport office of the
                              United States Trustee and one copy to the Unsecured Creditors'
                              Committee. The report shall be in a format approved by the
                              United States Trustee.

                      (10)    Periodic Report Concerning Related Entities. Shall file the
                              first Periodic Report required by subdivision (a) of Rule
                              2015.3 no later than seven days before the first date set for the
                              meeting of creditors under §341 of the Code. Subsequent
                              Periodic Reports shall be filed no less frequently than every six
                              months thereafter, until a plan of reorganization becomes
                              effective or the case is closed, dismissed, or converted. Copies
                              of the Periodic Report shall be served on the U.S. Trustee, any
                              committee appointed under §1102 of the Code, and any other
                              party in interest that has filed a request therefor.

                      (11)    Administrative Expenses. Shall take all steps reasonably
                              necessary to prevent the incurring of administrative expenses
                              the payment of which will not be possible from funds which
                              can be generated during the proceeding, and shall take all steps
                              necessary to prevent any depletion or potential depletion of
                              property of the estate, and shall immediately advise this Court
                              and the United States Trustee if the continued operation of the
                              business of the Debtor may not be in the best interest of the
                              creditors or the Debtor.




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    IT IS FURTHER ORDERED that no compensation or other remuneration shall be paid from property of the
estate to an individual Debtor, or if the Debtor is a partnership, to any of the partners, or if the Debtor is a corporation,
to any present or former officer, director, of stockholder thereof, unless and until the provisions of Local Bankruptcy
Rule 2016−2 have been fully satisfied.

   IT IS FURTHER ORDERED that not later than ninety (90) days after the date of entry of the Order for Relief
herein, the Debtor shall file a plan of reorganization pursuant to 11 U.S.C. §§ 1189, 1190, and 1191.

   IT IS FURTHER ORDERED that the Debtor, counsel for the Debtor, and the United States Trustee, shall appear
before the undersigned in 611 Broad St., 1st Floor Courtroom, Lake Charles, LA at 10:30 AM on 6/23/21, for the
purpose of a status conference concerning the actions taken and progress made toward confirmation of a plan of
reorganization. Any other party in interest may appear and participate in such status conference. Not later than
fourteen (14) days before the date of the status conference, the Debtor shall file with the court and serve on the trustee
and all parties in interest a report that details the efforts the Debtor has undertaken and will undertake to attain a
consensual plan of reorganization.


    SIGNED this the 3rd of May, 2021.


                                                  /s/ John W. Kolwe

                                                  UNITED STATES BANKRUPTCY JUDGE




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